                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


JOE FASANO, et al.,

                        Plaintiffs,                   Civil Action No. 1:16-8759 (KPF)

-v.-
                                                      RULE 7.1 DISCLOSURE STATEMENT
GUOQING LI, et al.,

                        Defendants.



       Science & Culture International Limited, through its undersigned counsel and pursuant to

Federal Rule of Civil Procedure 7.1, hereby states that Science & Culture International Limited

is not a publicly traded company and no publicly held company directly or indirectly owns 10%

or more of its stock.




Date: January 26, 2017                           Respectfully submitted,
      New York, New York
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                                                 International Limited
